8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 1 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 2 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 3 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 4 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 5 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 6 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 7 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 8 of 9
8:24-cr-00891-DCC   Date Filed 04/10/25   Entry Number 39   Page 9 of 9
